     Case 3:21-cv-01211-AW-HTC Document 108 Filed 08/26/22 Page 1 of 4




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION

BENJAMIN COKER, et al.,

                          Plaintiffs,
      v.
                                                   Case No. 3:21-cv-01211-AW-HTC
LLOYD AUSTIN, III, et al.,

                          Defendants.


              DEFENDANTS’ MOTION FOR LEAVE TO FILE
                  SUPPLEMENTAL DECLARATION

                                        MOTION

      Defendants respectfully request leave to submit the attached supplemental

declaration in response to new allegations in Plaintiffs’ supplemental filing.

                                MEMORANDUM

      This request is supported by good cause. The Court previously permitted

supplemental briefing to apprise the Court of relevant legal and factual

developments and to facilitate discussion of these matters at the August 29, 2022

motion hearing. See ECF Nos. 105, 106, 107. Among other things, Plaintiffs filed

a letter from Senator Johnson containing new allegations about a particular lot of

vaccine, FW1331, that Plaintiffs seem to believe may not really be BLA-approved,

based on allegations from a service member to the Senator. See ECF No. 106-2.




                                          1
     Case 3:21-cv-01211-AW-HTC Document 108 Filed 08/26/22 Page 2 of 4




Plaintiffs’ filing demanded that Defendants account for “the provenance of these

vials.” ECF No. 106 at 3.

      The proposed filing, attached here, authenticates FDA records showing that

Lot FW1331 was manufactured in Michigan (a manufacturing site included in the

approved BLA) and was subject to lot release. See attached. It is, therefore,

indisputably the BLA-approved vaccine Comirnaty, and properly labelled as such.

These records thus show that Plaintiffs’ newest factual allegations cannot establish

standing or refute mootness. It is thus relevant to the jurisdictional issues pending

before the Court, and Plaintiffs will have an opportunity to respond at the hearing.

      Local Rule 7.1(B) certification: Undersigned counsel provided a copy of the

declaration and exhibits to Plaintiffs’ counsel and proposed this motion by email on

August 24, 2022. Plaintiffs’ counsel responded on August 25 that they “are

reviewing what you sent but we do not have a position one way or the other at this

time.”

Dated: August 26, 2022                    Respectfully submitted,

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Principal Deputy Assistant Attorney
General

ALEXANDER K. HAAS
Director, Federal Programs Branch

ANTHONY J. COPPOLINO
Deputy Director


                                         2
     Case 3:21-cv-01211-AW-HTC Document 108 Filed 08/26/22 Page 3 of 4




/s/ Amy E. Powell
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                                      3
     Case 3:21-cv-01211-AW-HTC Document 108 Filed 08/26/22 Page 4 of 4




                           Local Rule 7.1(F) certification

      I hereby certify that this submission contains 271 words, not including the

case style, signature block, and certificate of service, according to Microsoft

Word’s word count function and thus is in compliance with Local Rule 7.1(F).



/s/ Amy E. Powell
AMY E. POWELL




                                          4
